Case 22-12916-MBK             Doc 5   Filed 04/11/22 Entered 04/11/22 11:12:40               Desc Main
                                      Document     Page 1 of 2




 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY

 In Re:
  George Sariotis and Cindy Sariotis                  Case No.:      ______________________
                                                                            22-12916

                                                      Chapter:                  11

                                                      Chief Judge:   ______________________
                                                                        Michael B. Kaplan



                   NOTICE OF CHAPTER 11 STATUS CONFERENCE

          The within matter has been filed as a Chapter 11 case. Pursuant to 11 U.S.C. § 105(d), the
Court will hold a status conference on ______________________
                                            May 12, 2022      at ____________________
                                                                       10:00 a.m.     at
__________________________________________________________________
United States Bankruptcy Court 402 East State Street Trenton       in Courtroom
____
  8 before the Honorable _______________________________.
                                 Michael B. Kaplan

                  ATTENDANCE BY THE DEBTOR IS REQUIRED
              AND INTERESTED PARTIES ARE ENCOURAGED TO ATTEND.

          The purpose of this status conference is to promote the efficient administration of the
case. At the status conference, counsel for the debtor shall be prepared to discuss matters relating
to the debtor’s business, its financial affairs and anticipated issues in the case. If applicable, the
debtor and other interested parties should be prepared to address the following:

          1. the debtor’s capital structure (secured and unsecured debt, tax claims, unliquidated
             claims, etc.);

          2. the debtor’s post-petition operations and sources of revenue including use of cash
             collateral and/or debtor in possession financing;

          3. significant motions or litigation anticipated by the debtor or other parties;

          4. whether the use of the Court’s mediation program will assist in the resolution of
             disputed matters;

          5. projected Chapter 11 administrative expenses (ordinary course and professionals) and
             how they will be satisfied;
Case 22-12916-MBK      Doc 5    Filed 04/11/22 Entered 04/11/22 11:12:40          Desc Main
                                Document     Page 2 of 2




      6. proof of claim bar dates;

      7. anticipated date to file Chapter 11 Plan;

      8. compliance with Chapter 11 administrative duties – monthly operating reports,
         retention of professionals, insurance, payment of U.S. Trustee fees, DIP bank
         accounts, etc.;

      9. the scheduling of future status conferences; and

      10. other matters unique to the case.



Date: _________________________
      April 11, 2022                                 JEANNE A. NAUGHTON, Clerk

                                                     BY: ___________________________
                                                         Wendy I. Quiles




                                                                                         new.6/9/17




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